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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                      (Filed: September 30, 2020)


* * * * * * * * * * * * * *
MICHAEL BISCEGLIA and          *
LORI BISCEGLIA natural parents *
of N.E.B., a minor,            *                                 UNPUBLISHED
                               *                                 No. 19-91V
              Petitioners,     *
                               *                                 Special Master Dorsey
v.                             *
                               *                                 Attorneys’ Fees and Costs
                               *
SECRETARY OF HEALTH            *
AND HUMAN SERVICES,            *
                               *
              Respondent.      *
* * * * * * * * * * * * * *

Carol L. Gallagher, Somers Point, NJ, for petitioners.
Julia M. Collison, U.S. Department of Justice, Washington, DC, for respondent.

                         DECISION ON ATTORNEYS’ FEES AND COSTS1

        On January 17, 2019, Michael and Lori Bisceglia (“petitioners”) filed a petition for
compensation on behalf of their minor child, N.E.B., under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (“Vaccine Act”). Petitioners alleged that
as a result of a Tetanus-diphtheria-acellular pertussis vaccination administered on September 20,
2017, N.E.B. suffered from epilepsy. Petition at 1 (ECF No. 1). On March 31, 2020, the parties

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  This decision will be posted on the website of the United States Court of Federal Claims' website, in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012). This means the Decision will be available to
anyone with access to the internet. As provided by 44 U.S.C. § 300aa-12(d)(4)B), however, the parties may object
to the published Decision’s inclusion of certain kinds of confidential information. Specifically, Under Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by that party: (1) that
is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes medical
filed or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise the whole decision will be available to the public in its current form. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(“Vaccine Act” or “the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.
§§ 300aa.
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filed a stipulation, which the undersigned adopted as her decision awarding compensation on the
same day. (ECF No. 41).

        On May 12, 2020, petitioners filed an application for attorneys’ fees and costs. Motion
for Attorney Fees and Costs (ECF No. 46). Petitioners request compensation in the amount of
$58,476.92, representing $30,617.10 in attorneys’ fees and $27,859.82 in attorneys’ costs. Fees
App. at 3. Pursuant to General Order No. 9, petitioners state they have not incurred any costs
related to the prosecution of their petition. Respondent filed his response on May 15, 2020
indicating that he “is satisfied the statutory requirements for an award of attorneys’ fees and
costs are met in this case.” Response at 2 (ECF No. 47). Petitioners did not file a reply thereafter.
The matter is now ripe for disposition.

       For the reasons discussed below, the undersigned GRANTS petitioners’ motion and
awards a total of $54,466.07.

           I.      Discussion

        Under the Vaccine Act, the special master shall award reasonable attorneys’ fees and
costs for any petition that results in an award of compensation. 42 U.S.C. § 300aa-15(e)(1).
When compensation is not awarded, the special master “may” award reasonable attorneys’ fees
and costs “if the special master or court determines that the petition was brought in good faith
and there was a reasonable basis for the claim for which the petition was brought.” Id. at
§15(e)(1). In this case, because petitioners were awarded compensation pursuant to a
stipulation, they are entitled to a final award of reasonable attorneys’ fees and costs.

                       a. Reasonable Attorneys’ Fees

         The Federal Circuit has approved use of the lodestar approach to determine reasonable
attorney’s fees and costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515
F.3d 1343, 1349 (Fed. Cir. 2008). Using the lodestar approach, a court first determines “an
initial estimate of a reasonable attorney’s fee by ‘multiplying the number of hours reasonably
expended on the litigation times a reasonable hourly rate.’” Id. at 1347-58 (quoting Blum v.
Stenson, 465 U.S. 886, 888 (1984)). Then, the court may make an upward or downward
departure from the initial calculation of the fee award based on other specific findings. Id. at
1348.

        Counsel must submit fee requests that include contemporaneous and specific billing
records indicating the service performed, the number of hours expended on the service, and the
name of the person performing the service. See Savin v. Sec’y of Health and Human Servs., 85
Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton v. Sec’y of Health and Human Servs.,
3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It
is “well within the special master’s discretion to reduce the hours to a number that, in [her]
experience and judgment, [is] reasonable for the work done.” Id. at 1522. Furthermore, the
special master may reduce a fee request sua sponte, apart from objections raised by respondent

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and without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y of
Health & Human Servs., 86 Fed. Cl. 201, 209 (2009).

        A special master need not engage in a line-by-line analysis of a petitioner’s fee
application when reducing fees. Broekelschen v. Sec’y of Health & Human Servs., 102 Fed. Cl.
719, 729 (2011). Special masters may rely on their experience with the Vaccine Program and its
attorneys to determine the reasonable number of hours expended. Wasson v. Sec’y of Health
and Human Servs., 24 Cl. Ct. 482, 484 (Fed. Cl. Nov. 19, 1991) rev’d on other grounds and aff’d
in relevant part, 988 F. 2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior
experience to reduce hourly rates and the number of hours clamed in attorney fee requests …
[v]accine program special masters are also entitled to use their prior experience in reviewing fee
application.” Saxton, 3 F. 3d at 1521.

                                   i. Reasonable Hourly Rates

       Petitioners request the following rates for their counsel, Ms. Carol Gallagher: $363.00 per
hour for work performed in 2017, $400.00 per hour for work performed in 2018 and 2019, and
$424.00 per hour for work performed in 2020. These rates are consistent with what Ms. Gallagher
has previously been awarded for her Vaccine Program work, and the undersigned finds them to be
reasonable for the work in this case.

                                 ii.     Reasonable Hours Expended

        Petitioners request compensation for 75.6 total hours billed by Ms. Gallagher. Fees App.
Ex. A at 3. Petitioners have submitted adequate billing logs listing the date, amount of time,
individual, and the nature of each task. The only reduction the undersigned finds necessary is for
time spent performing paralegal tasks, specifically involving correspondence to and from
medical providers for records and for a large amount of correspondence with petitioners. This
issue is not new to Ms. Gallagher’s billing records. See Rocha v. Sec’y of Health & Human
Servs., No. 16-241V, 2019 WL 2406954, at *4 (Fed. Cl. Spec. Mstr. Apr. 30, 2019); De Souza v.
Sec’y of Health & Human Servs., 141 Fed. Cl. 338 (Fed. Cl. 2018). Additionally, the
undersigned finds the time expended on reviewing CMECF notifications in total to be excessive.
Based on the hours billed for these tasks, the undersigned finds that a 5% overall reduction to the
award of attorney’s fees is appropriate. This results in a reduction of $1,530.85. Petitioners are
thus awarded final attorney’s fees of $29,086.25.

                      b. Attorneys’ Costs

       Petitioners request a total of $27,859.82 in attorneys’ costs. This amount is comprised of
acquiring medical records, postage, the Court’s filing fee, acquiring medical literature, and work
performed by petitioner’s medical expert Dr. Omid Akbari. Upon review, petitioner has provided
adequate documentation supporting these costs, and they appear mostly reasonable in the
undersigned’s experience.


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        Concerning Dr. Akbari's requested rate of $550.00, the undersigned finds it to be
excessive. Dr. Akbari has previously been awarded $500.00 per hour for his vaccine program
work. See Sheppard v. Sec'y of Health & Human Servs., No. 17-819V, 2020 WL 1027958, at *3
(Fed. Cl. Spec Mstr. Feb. 20, 2020); Hernandez v. Sec'y of Health & Human Servs., No. 16-
1508V, 2018 WL 4391060, at *2 (Fed. Cl. Spec. Mstr. Aug. 8, 2018); Shinskey v. Sec'y of
Health & Human Servs., No. 15-713V, 2019 WL 2064558, at *5 (Fed. Cl. Spec. Mstr. May 9,
2019). The undersigned also recently determined that $500.00 per hour is a reasonable hourly
rate for Dr. Akbari's work. Sheppard, 2020 WL 1027958, at *3. Thus, the undersigned finds
$500.00 is a reasonable rate for Dr. Akbari's work in this case, resulting in a total reduction of
$2,480.00. Petitioners are therefore awarded final attorneys’ costs of $25,379.82.

             II.      Conclusion

        Based on all of the above, the undersigned finds that it is reasonable compensate
petitioners and their counsel as follows:

    Attorneys’ Fees Requested                                                    $30,617.10
    (Total Reduction from Billing Hours)                                        - ($1,530.85)
    Total Attorneys’ Fees Awarded                                                $29,086.25

    Attorneys’ Costs Requested                                                   $27,859.82
    (Reduction of Costs)                                                        - ($2,480.00)
    Total Attorneys’ Costs Awarded                                               $25,379.82

    Total Attorneys’ Fees and Costs Awarded                                      $54,466.07

       Accordingly, the undersigned awards a lump sum in the amount of $54,466.07,
representing attorneys’ fees and costs, in the form of a check payable jointly to petitioners
and their counsel, Ms. Carol Gallagher.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with this decision.3

          IT IS SO ORDERED.

                                                               s/Nora Beth Dorsey
                                                               Nora Beth Dorsey
                                                               Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice renouncing
the right to seek review.
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